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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 MERCK & CO., INC. and MERCK
 SHARP & DOHME LLC,

                     Plaintiffs,

           v.                                          Civil Action No. 1:23-cv-01615-CKK

 XAVIER BECERRA, in his official
 capacity as Secretary of the Department of
 Health and Human Services, et al.,

                     Defendants.


                    DEFENDANTS’ RESPONSE TO [55] PLAINTIFFS’
                    MOTION TO GOVERN FURTHER PROCEEDINGS
       As explained in Defendants’ summary-judgment brief, ECF No. 24 at 8-12, this lawsuit

was originally filed by one corporation (Merck & Co., Inc.) to remedy harms allegedly faced by a

different corporation (Merck Sharp & Dohme LLC), in violation of well-settled principles of

shareholder standing and respect for the corporate form. In response, Plaintiff Merck & Co., Inc.

sought leave to file an amended complaint that would add Merck Sharp & Dohme LLC as a party

to this case. Defendants consented to that amendment over a month ago. See ECF No. 55-1.

       Defendants disagree with many of the assertions in Plaintiffs’ motion, though (with one

exception 1) will refrain from extending further this procedural dispute. Ultimately, all parties

agree that—as explained in the correspondence that Plaintiffs attached to their motion, and in

nearly all of the cases (and in the treatise) that Plaintiffs cite—the Court has the discretion to issue

an order that would depart from what would otherwise be the routine and natural consequence of



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         Defendants have not engaged in any conduct that could be described as “plainly a delay
tactic.” Pls.’ Mot. at 1. To the contrary, Defendants promptly consented to the filing of an
amended complaint on September 21—it was Plaintiffs who then waited more than a month to
take any steps to resolve the procedural complexity that they knew was going to be created by their
own litigation choices.
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Plaintiffs’ decision to amend their complaint: that is, a restart of the litigation. Compare, e.g.,

Gray v. D.C. Pub. Sch., 688 F. Supp. 2d 1, 6 (D.D.C. 2010) (“When a plaintiff amends her

complaint, it renders a motion to dismiss that complaint moot.”), with Charles A. Wright & Arthur

R. Miller, Effect of an Amended Pleading, 6 Fed. Prac. & Proc. Civ. § 1476 (3d ed.) (explaining

that “[o]nce an amended pleading is interposed, the original pleading no longer performs any

function in the case and any subsequent motion made by an opposing party should be directed at

the amended pleading,” but also noting that “defendants should not be required to file a new

motion to dismiss simply because an amended pleading was introduced while their motion was

pending”) (emphases added).

       Ultimately, however, Defendants will proceed in whatever manner the Court directs.

Absent an order to the contrary, Defendants will respond to the amended complaint on the date

required by Federal Rule of Civil Procedure 15(a)(3).

       DATE: October 23, 2023                       Respectfully submitted,

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                                                    Principal Deputy Assistant Attorney General

                                                    MICHELLE R. BENNETT
                                                    Assistant Branch Director

                                                    /s/ Stephen M. Pezzi
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